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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      November 12, 2021
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                  Nathan Ochsner, Clerk

                         CORPUS CHRISTI DIVISION

DAVID ALLEN HAVERKAMP; aka               §
HAVERKAMP,                               §
                                         §
          Plaintiffs,                    §
VS.                                      §   CIVIL NO. 2:17-CV-18
                                         §
JOSEPH PENN, et al,                      §
                                         §
          Defendants.                    §

                                     ORDER

         The undersigned hereby recuses herself in the above-styled and numbered
cause.

         SIGNED this 12th day of November 2021.


                                         ___________________________________
                                         Hilda Tagle
                                         Senior United States District Judge




1/1
